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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
          In re                                         Case No. 22-11068-JTD
          FTX Trading Ltd., et al.,                     (Jointly Administered)
          Debtors.1


                  NOTICE OF APPEAL AND STATEMENT OF ELECTION

Part 1: Identify the appellant(s)

1. Name(s) of appellant(s):

   Bloomberg L.P.; Dow Jones & Company, Inc.; The New York Times Company; and The Fi-
   nancial Times Ltd.

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
   of this appeal:

       For appeals in an adversary proceeding.     For appeals in a bankruptcy case and not in
        Plaintiff                                 an adversary proceeding.
        Defendant
       X Other (describe): Media Intervenors        Debtor
                                                    Creditor
                                                    Trustee
                                                    Other (describe)

Part 2: Identify the subject of this appeal

   1. Describe the judgment, order, or decree appealed from: June 15, 2023 order of the U.S.
       Bankruptcy Court for the District of Delaware, granting, in part, the motion of FTX Trad-
       ing Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”)
       and the Official Committee of Unsecured Creditors over the objections of Media Interve-
       nors-Appellants and the U.S. Trustee, and authorizing the redaction of the names, ad-
       dresses and e-mail addresses of Debtors’ customers from any filings with the Court for a
       period of at least 90-days pursuant to Bankruptcy Code Section 107(b)(1); and (b) the
       permanent redaction of the names of Debtors’ customers who are natural persons from all

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      FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a com-
plete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debt-
ors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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       filings with the Court pursuant to Bankruptcy Code Section 107(c)(1). See Order Author-
       izing the Movants to Redact or Withhold Certain Confidential Information of Customers
       and Personal Information of Individuals, D.I. 1643. A true and correct copy of the June
       15, 2023 order is attached hereto as Exhibit A.

   2. State the date on which the judgment, order, or decree was entered: June 15, 2023.

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, ad-
dresses, and telephone numbers of their attorneys (attach additional pages if necessary):


Debtors and Debtors-in-Possession:
       Adam G. Landis, Esquire
       LANDIS RATH & COBB, LLP
       919 Market Street
       Suite 1800
       Wilmington, Delaware 19801
       302-467-4400

       Brian D. Glueckstein, Esquire
       SULLIVAN & CROMWELL, LLP
       125 Broad Street
       New York, New York 10004
       212-558-4000

US Trustee:
      Juliet M. Sarkessian, Esquire
      OFFICE OF THE UNITED STATES TRUSTEE
      UNITED STATES DEPARTMENT OF JUSTICE
      844 King Street
      Suite 2207, Lockbox 35
      Wilmington, Delaware 19801
      302-573-6491

Ad Hoc Committee of Non-US Customers of FTX.com
      David A. Wender, Esquire
      EVERSHEDS SUTHERLAND (US), LLP
      999 Peachtree Street, NE
      Suite 2300
      Atlanta, Georgia 30309
      404-853-8175

Official Committee of Unsecured Creditors:
        Kenneth Pasquale, Esquire
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       Isaac Sasson, Esquire
       PAUL HASTINGS, LLP
       200 Park Avenue
       New York, New York 10166
       (212) 318-6000

Media Intervenors:
       David L. Finger
       FINGER & SLANINA, LLC
       One Commerce Center
       1201 N. Orange St., 7th fl.
       Wilmington, DE 19801
       302.573.2525

       KatieLynn B. Townsend, Esquire (pro hac vice)
       REPORTERS COMMITTEE FOR FREEDOM OF
        THE PRESS
       1156 15th Street, NW
       Suite 1020
       Washington, DC 20005
       202.795.9300


A list of all parties and attorneys that have entered appearances in this matter according to
PACER is attached hereto as Exhibit B and incorporated by reference herein.

                                                  Respectfully submitted,

Dated: June 22, 2023                              /s/ David L. Finger
                                                  David L. Finger (ID #2556)
                                                  FINGER & SLANINA, LLC
                                                  One Commerce Center
                                                  1201 N. Orange St., 7th fl.
                                                  Wilmington, DE 19801
                                                  302.573.2525
                                                  Katie Townsend (pro hac vice)
                                                  THE REPORTERS COMMITTEE FOR
                                                  FREEDOM OF THE PRESS
                                                  1156 15th Street NW, Suite 1020
                                                  Washington, DC 20005
                                                  202.795.9300
                                                  ktownsend@rcfp.org
                                                  Counsel for Media Intervenors


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